                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

 AIG PROPERTY CASUALTY                      §
 COMPANY,                                   §
          Plaintiff,                        §
                                            §    CIVIL ACTION NO. 4:20-CV-03213
          v.                                §
                                            §
 MARK ANDREW SCHULTZ,                       §
         Defendant.                         §
                                            §

            DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO
           MOTION TO DISMISS or in the alternative, MOTION TO STAY

      Defendant Mark Andrew Schultz (“Schultz”) files his Reply to AIG Property

Casualty Company’s (“AIG”) Response to his Motion to Dismiss. AIG does not establish

the existence of an Article III case or controversy necessary for this Court’s declaratory

judgment jurisdiction. The following points are raised in reply to AIG’s response to the

Motion.

   I. AIG misstates the record

      1.       AIG contends “Schultz tendered the Garcia Lawsuit to AIG and requested

indemnity coverage under the AIG Policy[.]” See Response at p. 1. AIG is incorrect.

Schultz provided notice of the loss to AIG in accordance with the terms of the AIG Policy.

See Document #1, Exhibit A, the AIG Policy, Part VI – Your Duties, C. You Duties After

A Loss. Since the primary carrier1 for Schultz’ underlying insurance has accepted its duty



      1
               AIG concedes Schultz’ underlying policy is primary to the AIG Policy. See
Response at 1; see also, AIG Complaint at ¶7.
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to provide a defense for the claims made in the Garcia Lawsuit, Schultz has not made any

demand of AIG pursuant to the AIG Policy. More specifically, he has not forwarded nor

tendered for payment any demands to AIG, as suggested without any evidentiary support,

in the Response.

   II. AIG fails to address the Griffin factors

       2.       AIG contends a policy exclusion2 should be adjudicated before an insured’s

liability is determined even when the insurer does not have a current duty to defend, the

limits of the underlying insurance have not been exhausted, and the primary carrier has not

tendered, and upon information and belief has no current plan to tender, the defense of the

Garcia Lawsuit to AIG. Since it is undisputed AIG does not currently have the duty to

defend Schultz, the narrow exception carved out in Griffin should not permit AIG to invoke

this Court’s discretionary jurisdiction under the guise of a derived “justiciable

controversy.”

       3.       Post-Griffin courts have consistently applied Griffin in reaffirming that the

duty to indemnify is justiciable before determining the insured’s liability only in limited


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                 As stated in the Motion, courts have authority to dismiss a suit for failure to state a
claim upon which relief can be granted if the complaint does not state factual allegations showing
that the right to relief is plausible. See generally, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
AIG’s Complaint and its Response to the Motion state the exclusion that is the purported basis for
its request for declaratory relief “excludes coverage for liability, defense costs or any other cost or
expense arising out of the ownership or use of any ‘auto’ not listed on the policy declarations
page.” See Response at 5. In reality, the exclusion actually states that coverage is excluded only
if the auto is “not covered by any underlying insurance or not listed on the Declarations Page
of this policy.” See Document #1, Exhibit A, AIG Policy at 8. Since Schultz’ automobile is
covered by applicable underlying insurance, AIG’s request for declaratory relief does not state
factual allegations showing a plausible right to the relief it has requested. The Complaint and
Response wholly fail to address the disjunctive set forth in the relied-upon exclusion.
Consequently, dismissal is appropriate on this basis, as well.
                                                   2
circumstances. In addition to the authority cited in the Motion, other Texas district courts

have addressed Griffin and applied it in similar circumstances where a liability insurer

sought a ruling on liability for indemnity obligations before a judgment is entered. See

e.g.: Mid-Continent Casualty Co. v. Christians Development Co., No. A-16-CA-31- LY,

2016 WL 1734114 (W.D. Tex. Apr. 28, 2016). In Christians Development Co., Judge

Yeakel affirmed a Report and Recommendation of the United States Magistrate Judge that

determined declaratory relief addressing an insurer’s indemnity obligation was pre-mature

because the insurer “failed to show that no facts could possibly be proven in the underlying

case that would trigger a duty to indemnify.” Id.

       4.     AIG’s Response does not establish that a declaration addressing its duty to

indemnify under current circumstances fits into the narrow exception established by

Griffin. Griffin, 955 S.W.2d at 84. AIG does not claim it currently owes a duty to defend

Schultz. No tender of Schultz’ defense has been made by the primary carrier to AIG.

Schultz’ liability, if any, for the claims advanced in the state court litigation remains to be

established. AIG fails to establish that an actual case or controversy exists at this stage.

Since AIG has not been requested to provide a defense or accept a demand for indemnity,

adjudication of AIG’s request for declaratory relief would serve no useful purpose. See

generally, In re Jillian Morrison, L.L.C., 482 Fed. Appx. at 876.

   III. Conclusion

       5.     In the present case, the duty to defend has not been triggered under the AIG

Policy. There is no immediate controversy requiring this Court’s resources and the

requested declaration addressing indemnity coverage constitutes an advisory opinion

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before a judgment, if any, is rendered against Schultz. Accordingly, it is respectfully

requested that the Court dismiss AIG’s complaint under 28 U.S.C. §2201(a), or in the

alternative, pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6).

                                                Respectfully submitted,

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                             CERTIFIATE OF SERVICE

      The undersigned hereby certifies that a true and accurate copy of the foregoing
document was served upon all counsel of record through the Notice of Electronic Filing or
by e-mail on January 4, 2021.
                                                     /s/ Jonathan Axelrad
                                               Jonathan Axelrad




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